              IN THE CIRCUIT COURT FOR WILSON COUNTY, TENNES�QA
                                        AT LEBANON                                          ·




                                                                                                =�
  ALEXANDER JOHNSON,                        )
         Plalntlff,                         )
                                                   No. \ 8 CV lo41...
                                            )
  v.                                        )                                                   0 .. .... ....
                                            )      JURY DEMAND                                  r-,        . ,,

  JH WILSON TRANSPORT, LLC,
                                            }                                     ...           �J


                                            )                                 ·., ...;          ,t;;"
  ARNOLD FARMS TRUCKJNG, LLC,               )                                : ;; "·:           ::::!
  and DAVID GRUBBS,                         )
       Defendants.                          )                                :.        -�
                                                                                  �,            c.:·,
                                                                                                ,;.:i
                                                                                  ''




                                        COMPLAINT

         Comes now Plalntlff, Alexander Johnson, and files this Complaint for damages
  against JH Wilson Transport, LLC, Arnold Farms Trucking, LLC and David �rubbs and
  shows unto the Court as follows:
         1.     Alexander Johnson Is a resident of Smith County, Tennessee.
         2.     Defendant. JH WIison Transport, LLC Is a limited llablllty company,
  organized under the laws of the State cf Missouri. The business address Is 102 S.
  Interstate Dr. Miner, Missouri 36801. Its registered agent for service of process In
  Tennessee Is Lisa Blackwell 1477 Joppa Rd. Walllng, White County, Tennessee 38587.
        !3.    Arnold Farms Truoklng, LLC Is a limited llablllty company, organized under
 the laws of the State of Mlssourl, The business address Is 43 County Highway 449,
 Sikeston, Missouri 63801. Its registered agent for service of process Is Timothy E.
 Arnold 43 County Highway 449, Sikeston. Missouri 63801. Defendant may be served
 through the Tennessee Secretary of State ..




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